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Case 1:OO-cV-00105-L-[?LI\/| Document 115 Filed 03/12/03 Page 1 of 9 Page|D #: 11890
v t

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF RHGDE ISLAND

THE ESTATE OF YARON UNGAR,
et al

V. C.A. No. 00-105L

THE PALESTINIAN AUTHORITY,
et al

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PALESTINIAN DEFENDANTS' MOTION FOR PROTECTIVE ORDER

 

Defendants the Palestinian Authority and the Palestine Liberation Organization, hereby
move for a protective order against the taking of the depositions of President Yasser Arafat and
six other Palestinian leaders.

A copy of the January 27, 2003 letter from Arnbassador Al-KidWa to Magistrate Judge
Martin is attached hereto and incorporated by reference »

A Mernorandurn is filed herewith.

Dated: March 12, 2003 M/M ?<Tb{w

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The Palestinian Authority and / " f
The PLo / , j §

 

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CERTIFICATE OF SERVICE

 

l hereby certify that on the 12th day of March, 2003, l faxed and mailed a copy of the
Within Palestinian Defendants' Motion for Protective Order to David J. Strachman, Esq., Skolnik,
Mclntyre & Tate Esqs., Ltd., Suite 400, 32l South Main Street, Providence, Rl 02903 and mailed
to Nitsana Darshan-Leitner, Esq., 28 Emek Ayalon Street, l\/Iodi’in 71770, lsrael.

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Januax'y 27, 2003

Honorable David L. Martin

Magistrete lodge

U.S. District Court

Omoe of the Clerk

Providence, Rhode Island 02903-1720
` Re: Ungar v. The Pa.lestinian Authority

C-A. No. OO-I'OSL D.R.I.

Dear ludge Mmin,

We have carefully analyzed the three discovery documents in this~case and the
possibility of our responding to them in the near future. ‘

, our eommmicarion'.-,: 'wim bazelon from the F,NA and the pto who would
normally be concerned with legal requests of this kind have been extremely difficult

As you know there has

have been
destroyed damaged dispersed and lost Pe:sormel responsible for record keeping have
records and unable to perform their assigned tasks,

Presidcnr Arafat has been virtually trapped in the mims of his omoc in Ramallah
since Marcb. of 2002- Oth'er officials and administrators have had similar diHiculties.'
` ` been killed by the Ismcli occupying forces on our own
soil during the last 28 months affecting everyone's life.

Govemment offices and
matters of

l _ _02
Page 3 of 9 F>agelDv #: maez

We find the scope of inquiry to be
claims being made by plaintiffsl

Much of it seems

, who could gatherinformation and prepare
to requests for admissions

incredibly broad md often unrelated to the
politically motivated and seeks records

usually deemed confidential including
with foreign sums

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communications between the PNA, or the PLC_)

even with the United Staxes government

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'*' or 1 - l ‘

We dott't understand how plalndh`s can claim the PNA and PLO are responsible
for what HAMAS does. 'I`he history of the PNA/PLO-»HAMAS relationship is public and
well known and the claim that the PNA and PLO. are responsible for what HAMAS does
is simply not credible .

Nor do we understand how plaintiffs can sue the PNA and PLO for this death and
at the same time sue the government of iran in a separate case in Washingwn. D.C. for
the same death claiming Iran is responsible for what HA'MAS does. Yet we've been
advised plaintist are doing this We notice what appears to be a multiplicity of suits
coming from the same lawyers and political statements publicly made by them in
connection with the suits, which makes it difficth to believe their aim is to pursue the
interests of the individual plaintiffs

n would soon fur and just to wait until there so o son decision on no issue

nearly four years from the time of the assault to tile this oase. `I`hc time we request which

is necessary to m'ak`e presentation of our defense possible if a. defense becomes '
necessary, ought to be comparatively short Only the achievement of a_ level of stability,
.&ec nom the threat of daily attacks in'our territory can make it.possible to free personnel
to'gatherthe materials»and information needed to proceed with a defense ' . ~ . ' `

While we We.it until violence subsides and hopefully peace eomes_. to respond to'
appropriate discovery requests if jurisdiction is upheld, we must state that neither the
PNA nor the PLO played any role and neither had any responsibility for thc deaths in'tltis`

' case We resort these deems as we do the thousands before them and since :in these tragic
years ofviolence. ' ' ' 5

Under exceedmgly difficult circumstances the PNA and PLO have done what
they can do to reach a peace agreement and to protect lives even while they have
themselves been attacked We grieve over the deaths and injuries on both sides from the

We hope this case will not become an obstacle to such a dayt _

Ce:ely’

Dr. Nasser Al- dwa
Ambassedor, Permanent Observer ofPalesn`nc
to the United Nau‘ons

 

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF RHODE lSLAND

THE ESTATE OF YARON UNGAR, )
ct al )
)
v. ) C.A. No. 00~105L

)

THE PALESTINIAN AUTHORITY, )
ct al )
)

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MEMORANDUM IN SUPPORT OF
PALESTINIAN DEFENDANTS' MOTION FOR PROTECTIVE ORDER

This memorandum is submitted by thc defendants thc Palcstinian Authority ("P()") and
the Palcstinc Libcration Organization, thc present government of Palcstinc, in support of their
motion for a protective order against the depositions of Presidcnt Yasser Arafat and six other
Palcstinian leaders -- Razi Jabali, Jibril Raj oub, Muhammcd Dahlan, Amin Al-Hindi, Tawflk
Tiravvi, and Marvvan Barghouti -- that have been noticed by plaintiffs to begin on March 31,
2003.

ARGUMENT

The chaotic and violent conditions that have long prevailed and arc continuing in thc
Palcstinian territories preclude the availability for depositions of Prcsidcnt Arafat and thc six
other Palcstinian leaders named in plaintiffs notices to take depositions beginning March 31,
2003.

Thcsc conditions arc the overriding and basic reason for the inability of the PA to meet
plaintiffs discovery demands as appears from dcfcndants’ filings With regard to pending
motions, See c.g. dcfcndants’ motion for reconsideration and a Stay filed on January 27, 2003 and

dcfcndants' objections filed Fcbruary 27, 2003 and March 3, 2003 to plaintiffs' motions for

 

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default and default judgment The letter of Ambassador Al-Kidwa to Magistrate Judge Martin in
this action, dated January 27, 2003, previously filed and attached also to this motion for a
protective order for the Court's ease of reference, succinctly describes the Violence and
destruction and its devastating impact on the Palestinian government

As you know there has been intense violence throughout occupied
Palestine for more than two years. The offices of the PNA in Gaza
City have been destroyed Offices in Ramallah have been attacked
and partially destroyed and left under continuing siege. Other
offices of both the PNA and the PLO have been damaged
Records have been destroyed, damaged, dispersed and lost.
Personnel responsible for record keeping have been separated from
their offices and records and unable to perform their assigned
tasks

President Arafat has been virtually trapped in the ruins of his office
in Ramallah since March of 2002. Other officials and
administrators have had similar difficulties l\/lore than 2100
Palestinians have been killed by the lsraeli occupying forces on our
own soil during the last 28 months affecting everyone's life.

Government offices and officials cannot work effectively or
organize even on matters of extreme urgency. lt has been
impossible under such circumstances to locate people Who could
seek and find documents, who could gather information and
prepare answers to interrogatories and could respond to requests
for admissions.

A current report in the New York Times on Monday, March lO, 2003, In Leaderless

Gaza, lsraeli Forces and Hamas Fight lt out, p. A4 (EX. l hereto) demonstrates the further

 

deterioration of conditions since Amb§ Al-Kidwa's assessment of the violence and chaos in the
Palestinian territories and the severe handicaps under which the Palestinian government is
operating

More so than plaintiffs' earlier discovery demands against the PA -- for answers to
interrogatories, admissions and the production of documents -- excessive and overly intrusive as

they were and beyond the capability of the PA to answer, the depositions plaintiffs have noticed

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pose a greater risk of harm to vital public interests -- to order and tranquility in daily Palestinian
affairs, to the prospects of peace in the Middle East and to the resolution or easing of the
Palestinian-lsraeli conflict l

The notices of deposition are objectionable in many respects that are mooted by the
deponents' unavailability Plaintiffs have made no showing that the top echelons of the
Palestinian government have knowledge or information directly related to the attack on the
Ungars or why lesser officials could not equally well be queried Cf. ln re Papandreou, 139 F.3d
247 (D.C.Cir. 1998) issuing a writ of mandamus against the taking of the depositions of the
Greek Ministers of Tourism and of the Economy.

There remains the question of political motive and manipulation behind the pursuit of
discovery by plaintiffs' attorneys when its impossibility is patent.

Defendants' prior submissions have developed the role of plaintiffs' lsraeli attorneys in
this case and many others, including their public assertions, especially by l\/ls. Nitsana Darshan- 4
Leitner and her husband Avi Leitner (formerly Craig Arthur Leitner), that they have 25 terrorism
cases pending, including this one, that they are awaiting a first-of-its~kind default judgment
against Hamas, and that they are engaged ina war against the PA and PLO and other
governments and groups that they consider terroristic and are seeking to bankrupt and destroy
them. This is an independent agenda the lsraeli attorneys are pursuing for their own extreme
purposes Avi Leitner's background of extremism includes violent criminal acts against
Palestinian civilians, as reported in Exhibits 5A and 5B to defendants' memorandum in support
of their motion for reconsideration of January 27, 2003.

This history of criminal violence undoubtedly largely accounts for the denial of Mr.

Leitner's application for admission to the New York bar. The denial led him to file a federal

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action in 1999 against many defendants, including the State of New York, the New York Court
of Appeals, the Character and Fitness Committee and disciplinary officials who denied his

application, John Doe No. l and John and lane Does Nos. 2-99. See Leitner v. State of New

 

M, 2000 U.S.Dist. LEXIS 3767, 99 Cv 1743 (JG) (EDNY 2000). The action is of interest for
the present case because the complaint makes far-fetched and improbable charges-that strikingly
parallel in rhetoric and accusatory excess the charges in this case and other cases by these Israeli
attorneys -- charges of conspiracy, intentional and negligent infliction of mental distress, and
libel and slander, among others -- and tellingly confirms the proclivity of these attorneys to assert
intemperate and baseless charges against governmental defendants Mr. Leitner probably drafted
or Was instrumental in drafting the Complaint in this action. See Exhibit 3 to defendants' January
27, 2003 motion for reconsideration, the draft complaint posted on the internet, in which Ms.
Darshan-Leitner appears as attorney for the plaintiffs and David Strachman as local counsel.
The EDNY action was dismissed in March 2000 on defendants' motion before answer for lack of
jurisdiction The Court's opinion describes the acts of violence by Craig Leitner at *2, as do Q§.
v._lieit£r, 627 F.Supp. 739 (EDNY 1986) (reversing the Magistrate Judge's admission of the
defendant to bail while awaiting extradition) and U._S. v. L_ei_t@, 784 F.2d 159 (2d Cir. 1986)
(affirming the District Court's denial of bail).

l\/lr. Leitner's participation in organized violence and extremism is well documented, and
amply justifies continuing and present-day concern. See e.g. Ehud Sprinzak, The Ascendance of
Israel's Radical Right, (Oxford University Press l99l), quoting an account by Mr. Leitner
describing his participation in typical mid-l980's violence against Arab civilians at pp. 236-37
(Ex. 2 hereto); see also Robert I. Friedman, The False Prophet, Rabbi Meir Kahane, From FBI

lnformant to Knesset Member (Lawrence Hill Books l990) quoting from Craig Leitner's signed

 

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confession and describing his role as a Kach Party member in co-planning an attack on an Arab

bus, at pp. 205-07 (Ex. 3 hereto).

Conclusion

The motion of the defendants PA and PLO for a protective order should be granted and

plaintiffs' notices to take the depositions of Yasser Arafat and six other Palestinian leaders

should be set aside.

Dated: March 12, 2003

Respectfully submitted,

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Attorneys for Defendants
The Palestinian Authority and
The PLO

CERTIFICATE OF SERVICE

 

l hereby certify that on the 12th day of March, 2003, l faxed and mailed a copy of the
within Memorandum in Support of Palestinian Defendants' Motion for Protective Order to David
J. Strachman, Esq., Skolnik, Mclntyre & Tate Esqs., Ltd., Suite 400, 32l South Main Street,
Providence, Rl 02903 and mailed to Nitsana Darshan-Leitner, Esq., 28 Emek Ayalon Street,

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